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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division



UNITED STATES OF AMERICA

V,                                        Criminal No. 3:16c r46

DAZZMOND T. HAWTHORNE




                            MEMORANDUM OPINION


      This matter is before the Court on the defendant's         Motion for

Compassionate Release Pursuant to Section 603(b) of the First Step

Act (ECF No. 32), the RESPONSE OF THE UNITED STATES II^         OPPOSITION


TO DEFENDANT'S MOTION FOR COMPASSIONATE RELEASE {ECF ]to. 40), and

the   Defendant's   Reply    Memorandum    in   Support   of   Motion       for

Compassionate Release Pursuant to Section 603(b) of ths First Step

Act (ECF No. 34). Having considered those papers, the          Presentence

Report, the file, and the record submitted with the            defendant's

motion, the defendant's Motion for Compassionate Relea.se            Pursuant


to Section 603(b) of the First Step Act (ECF No                52)   will   be

denied.



                               BACKGROUND


      Dazzmond T. Hawthorne, while serving a period of gtod behavior

for conviction of robbery of a business with a gun in 2019,

committed two robberies which led to his convictions iji this case.

The first one was on March 2, 2016.         The second was cn March 16,
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2016.   As a result, he was convicted, upon pleas of gi;ilty, of two

counts of interference with commerce by robbery in vie lation          of 18

U.S.C. § 1951(a).

     Hawthorne's role in the first robbery was to            serve   as   the


getaway driver.     In the commission of the robbery,         Hawthorne's


confederates used weapons to force the clerk of the gas         station to

lie on the ground and then pistol whipped the clerk           when he     was

unable to open the safe.        The defendant actually ccbmmitted the

second robbery and, in so doing, brandished a se ni-automatic

pistol.

     Hawthorne's confinement guideline range was 87 to        100 months.


His Criminal History Category was III.

     On July 21, 2016, Hawthorne was sentenced to 1( 0          months of


imprisonment.   He has served slightly more than 60 mo::iths         of that


sentence, and his projected release date is April 23,        2023.     While

in prison, Hawthorne has taken advantage of a signifiLcant           number


of programs and has worked extensively in UNICOR and e Lsewhere           and


has paid the amount of restitution and special assessm snt fixed by

the judgment in his case.

     Hawthorne is confined at Petersburg Medium FCI wh ich        was home

to 1,502 inmates as of April 6, 2021.            As respect s    COVlD-19,

Hawthorne was designated as a high risk inmate because        he suffered


from asthma, and he has received both doses of the Pfi:ser BioNTech
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COVlD-19 vaccine.         As of April 6, 2021, 534 inmates had been fully

vaccinated and the facility expected to inoculate                       another    300


inmates at that location in the ensuing week.                 (ECF No. 45).


                                    DISCUSSION


       The applicable statute, 18 U.S.C. § 3582(c)(1)(A), provides,

in pertinent part, that, upon appropriate motion, th^                    Court "may

reduce    the   term      of   imprisonment    .    .   .    if   it    finds     that


'extraordinary and compelling reasons' warrant such a                   reduction."


It is settled that the burden is on the defendant t6 prove that

extraordinary       and   compelling     reasons    exist     for   c Dmpassionate

release under § 3582(c)(1)(A)(i).            United States v. W liite, 378 F.

Supp.3 784, 785 (W.D. Mo. 2019).

       The "mere existence of COVID-19 in society and the possibility

that     it   may   spread     to    a   particular     prison      a   one   cannot


independently        justify        compassionate       release,         especially

considering the Bureau of Prison's statutory role, ahd                    extensive


professional efforts to curtail the virus' spread.                  U lited   States


V. Raia, 954 F.3d 594, 597 (3rd Cir. 2020).                 In asses sing whether

the record shows the existence of extraordinary and compelling

reasons for compassionate release, courts consider, inter alia.

the guidance of the CDC, and non-binding policy state nents                   of the


United States Sentencing Guidelines.               See United States V. Beck,

425 F. Supp. 3d 573, 581-82 (M.D.N.C. 2019). The polic y statements

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are not binding but are informative and may be conside red.                United


States V. McCoy, 981 F.3d 271, 276 (4th Cir. 2020)                   The   cases


teach that, to constitute extraordinary and compelling          reasons for


compassionate release, medical conditions must be ser Lous.                Also,

it is generally true that "chronic conditions that ca: be managed

in prison are not a sufficient basis for compassionalf:e             release."


United States v. Ayon-Nunez, No. l:16-cr-130, 2020 Wlji 704785, at

*2-3 (E.D. Cal. Feb. 12, 2020).

     To establish      existence of    "extraordinary and       compelling"

reasons   for   compassionate    release    because   of   CO'7ID-19,        the

defendant must show "both a particularized susceptibility to the

disease and a particularized risk of contracting the             disease at


[his] prison facility."       United States v. White,            F. Supp.3d

     , 2020 WL 1906845, at *1 (E.D. Va. April 23, 20 0) (quoting

United States v. Feilinq, 453 F. Supp.3d 832, 840 (E.D. Va. 2020))

     1.    Particularized Susceptibility

     The defendant has established that he suffers from asthma.

The BOP has treated him as high risk because of that            so that he


would receive the COVlD-19 vaccine.        He also experiencfes epidsodic

sharp chest pains of unidentified origin.        However, the fact that

a defendant has established a higher susceptibility             to    COVID-19


does not resolve the particularized susceptibility requirement

because   identified   risk   factor   conditions   must   be   serious       to
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constitute extraordinary and compelling reasons.                 It appears from

the record that the conditions on which Hawthorne base s his motion

are "chronic conditions that can be managed in prisoii [and thus]

are not a sufficient basis for compassionate release."                        United

States V. Ayon-Nunez, No. l:16-cr-130, 2020 WL 704785, at *2-3

(E.D. Cal. Feb. 12, 2020).                In addition, Hawthojrne has not

established that his medical needs cannot be met while incarcerated

and, indeed, the medical records filed herein outline that he

receives regular medical care, adjustment of his medi::ations, and

testing related to the chronic health issues.

       In his reply brief, Hawthorne minimizes the fact that he has

received both doses of the Pfizer BioNTech vaccine, arguing that

(i) there is insufficient evidence of how long the vaccine will

last; (ii) the vaccine is less effective against variants; and

(iii) variants surely will come to Virginia (where Hawthorne is

confined).    Those speculative points do not change tlie fact that

Hawthorne    has   received   the   vaccine       that   has   been   shown   to   be

effective.    Nor do they take into account that, by no V,              over half

the population of his facility will have received t;he vaccine.

More   importantly,    the    record      shows    that    Hawthorne's    chronic

conditions are being effectively dealt with in prison

       In   sum,    Hawthorne       has    not     met     the    particularized

susceptibility risk facet of the applicable test.
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       2.    Particularized Facility Risk

       Nor   has    Hawthorne   met   the   particularized     fa cility      risk

component of the appropriate test. His motion cites pr ess               releases


respecting the instances of COVID-19 among inmates and staff at

BOP   facilities     nationwide,      but   provides    no   real   evidentiary

support of a particularized risk of contracting the                  disease      at

Petersburg Medium FCI, the defendant's facility of in::arceration.

Further, the record reflects that, at the time of the filing of

the Government's papers, Petersburg Medium FCI had 12               active case


of COVID-19,^ 12 active cases of COVID-19 among staff,                    and 253

inmates and 8 staff members who had previously recovered from

COVID-19.     Sadly, there has been one inmate death, bup that alone

does not detract from the basic conclusion that the facility is

managing the COVID-19 situation well.             In addition,      all inmates


who have tested positive are being appropriately                    treated    and


isolated in accord with the appropriate CDC guidelines that have

been adopted by the Bureau of Prisons.

       3.    Assessment Under 18 U.S.C. § 3553(a)

      But,   even   if   Hawthorne    had   met   the   particulkrized        risk

assessment and the particularized facility assessment (which he

has not), it would be appropriate to deny compassionat2 release in

perspective of the sentencing factors prescribed by                 18   U.S.C.   §




^ On that date the inmate population was 1,492
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3553(a).     Compassionate release, of course, is apprc priate          only

where the defendant is not a danger to the safety of             any other

person or of the community.         The defendant implies, in oblique

language, that he is not a danger to the communi:y because,

according to Hawthorne's handwritten statement, his            educational

and work efforts "demonstrate a mental commitment to ch^nge,          backed

up by actions consistent with that change."         (ECF No. 32, p. 13).

     Indeed, Hawthorne's rehabilitative efforts and a ttitude are

commendable.    But, his record is one of violent criihe and that

cannot be offset by those very good post-conviction efforts             when

assessing what is needed to protect the public an d              to    deter


Hawthorne.     That is especially so considering that;           Hawthorne


received a lenient sentence for his first robbery, the n         committed


the two robberies for which he is now serving a senten ce         while he


was on a sentence of good behavior.

     Prudence and reason inform that the current sentence             serves


the ends of the sentencing statute (18 U.S.C. § 3553( a)), and is

necessary to deter Hawthorne and to protect the public          when he is


released in 2023.
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                                  CONCLUSION


        For   the   foregoing    reasons,   the   defendant's   Motion   for


Compassionate Release Pursuant to Section 603(b) of th^ First Step

Act {EOF No. 32) will be denied.

        It is so ORDERED,



                                                  /s/
                                Robert E. Payne
                                Senior United States District Judge


Richmond, Virginia
Date:    May         2021
